












Dismissed and Memorandum Opinion filed August 6, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-00-00603-CV

____________

&nbsp;

NATIONWIDE HOUSING SYSTEMS, INC. D/B/A

NATIONWIDE OF SPRING, Appellant

&nbsp;

V.

&nbsp;

CYNTHIA ANN VANDERWEYST, Appellee

&nbsp;



&nbsp;

On Appeal from
County Civil Court at Law No. 2

Harris
County, Texas

Trial Court Cause
No. 700,820

&nbsp;



&nbsp;

M E M O R
A N D U M O P I N I O N

This is an appeal from a judgment signed February 4, 2000.&nbsp;
On February 1, 2001, this court abated the appeal because appellant petitioned
for voluntary bankruptcy in the United States Bankruptcy Court for the Southern
District of Texas, under cause number 01-80017-G3-11.&nbsp; See Tex. R. App.
P. 8.2.&nbsp; 








Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on June 22,
2004.&nbsp; The parties failed to advise this court of the bankruptcy court action.

On June 11, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Seymore, Brown, and Sullivan.





